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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 MATTHEW DUNLAP,


                    Plaintiff,

        v.                                         Civil Docket No. 17-cv-2361 (CKK)

 PRESIDENTIAL ADVISORY
 COMMISSION ON ELECTION
 INTEGRITY et al.,


                    Defendants.



                                 NOTICE OF TIMING FOR FILING

       Pursuant to this Court’s January 10, 2018, minute order, defendants respectfully notify

the Court that they will be able to file a response to Plaintiff’s Supplemental Brief, ECF 42,

addressing the legal issues raised within and the factual issues raised by the Court during the

January 10, 2018, hearing, by Tuesday, January 16, 2018, at 12pm EST.
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Dated: January 12, 2018             Respectfully submitted,

                                    CHAD A. READLER
                                    Acting Assistant Attorney General

                                    ELIZABETH J. SHAPIRO
                                    Deputy Director

                                    /s/ Joseph E. Borson
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                                CERTIFICATE OF SERVICE

       I hereby certify that on January 12, 2018, I electronically filed the foregoing paper with

the Clerk of the Court using the ECF system, which shall send notice to all counsel of record.

                                             /s/ Joseph E. Borson
                                             Joseph E. Borson
